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05/02/2018 [:l Order - Special Process Server
Associated Entries: 05/01/2018 - Motion Special Process Server ch
m Summons lssued-Circuit

Document |D: 18-SN|CC-706, for MED|CRED|T |NC. SUMMONS SAVED AND ATTACHED |N PDF
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Filed By: DOM|NIC M PONTELLO
m Motion Special Process Server

MOT|ON FOR SPEC|AL PROCESS SERVER.
Filed By: DOM|N|C M PONTELLO
On Behalf Of: DOLEATA JOHNSON on behalf of herself an all other similary situated
Associated Entries: 05/02/2018 - Order - Specia| Process Server

{:l Pet Filed in Circuit Ct
CLASS ACTlON PET|T|ON.
g Judge Assigned

 

 

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Case: 4:18-cv-00892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 2 of 18 Page|D #: 5

1811-CC00431

IN THE CIRCUIT COURT
SAINT CHARLES COUNTY
STATE OF MISSOURI
DGLEATA JOHNSON, on behalf )
of herself an all other similarly situated )
)
Plaintiff, )
) Cause No.
v. )
)
MEDICREDIT, INC. ) Division
)
Serve at: )
STK REGISTERED AGENT, INC. )
900 W. 48TH STREET, STE 900 )
KANSAS ClTY, MO 64112 )
)
Defendant. ) JURY TRIAL DEMANDED

INTRA~STATE CLASS ACTION PETITIGN

COMES NOW, Plaintiff, Doleata Johnson, and for her Intra-State Class Action Petition

states as follows:
INTRODUCTION

l. This is an action for statutory and actual damages brought by an individual
consumer on behalf of herself and all other consumers located in Missouri and similarly situated
for violations of the Fair Debt Collections Practices Act, 15 USC 1692 et. Seq. (“FDCPA”),
Which prohibits debt collectors from engaging in abusive, deceptive, and unfair practices

2. This is an action for statutory damages brought by an individual consumer on
behalf of herself and all other consumers located in Missouri and similarly situated for violations
of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

3, Plaintiff, for herself, and on behalf of her fellow class members, demands a trial

byjury on all issues so triable.

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Case: 4:18-cv-00892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 3 of 18 Page|D #: 6

JURISDICTION

4. This Court hasjurisdiction of the FDCPA claim under 15 USC 1692k (d) because
the illicit collection activity was directed at Plaintiff in Saint Charles County, Missouri.

5. This Court has jurisdiction of the TCPA claim under 47 U.S.C. § 227 (3)(b).
Venue is appropriate in this Court because Defendant Medicredit, lnc. (“Medicredit, Inc”) placed
prohibited telephone calls to Plaintiff at Plaintiff’s phone located in St. Charles County, Missouri.

PARTIES

6. Plaintiff is a natural person currently residing in Saint Charles County, Missouri.
Plaintiff is a “consumer” within the meaning of the FDCPA. The debt Plaintiff allegedly owes
arises out of consumer, family, and household transactions

7. Specifically, Plaintiff believes the alleged debt arose from a medical debt.

8. Defendant l\/Iedicredit, Inc. is a domestic corporation with its principal place of
business in Columbia, MO. The principal business purpose of Defendant is the collection of
debts in Missouri and nationwide, and Defendant regularly attempts to collect debts alleged to be
due another.

Teleplzone C0nsumer Protection Act

9. At all times relevant to this complaint, the Plaintiff was and is a “person” as
defined by the TCPA 47 U.S.C. § 153(39).

10. At all times relevant to this complaint, Defendant has owned, operated, and or
controlled “customer premises equipment” as defined by the TCPA 47 U.S.C. § 153(16) that
originated, routed, and/or terminated telecommunications

11. Defendant at all times relevant to the complaint herein engages in

“telecommunications” as defined by the TCPA 47 U.S.C. § 153(50).

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Case: 4:18-cv-00892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 4 of 18 Page|D #: 7

12. Defendant at all times relevant to the complaint herein engages in “interstate
communications” as defined by the TCPA 47 U.S.C. § 153(28).

13, At all times relevant to this complaint, Defendant has used, controlled, and/or
operated “wire communications” as defined by the TCPA 47 U.S.C. § 153(59), that existed as
instrumentalities of interstate and intrastate commerce.

14. At all times relevant to this complaint, Defendant has used, controlled, and/or
operated “automatic telephone dialing systems” as defined by the TCPA 47 U.S.C. § 227(a)(1)
and 47 C.F.R. 64.1200(f)(2).

Fair Debt Collection Practices Act

15. Plaintiff is a "consumer” within the meaning of the FDCPA. 'I`he alleged debt
Plaintiff owes arises out of consumer, family, and household transactions

16. Defendant is engaged in the collection of debts from consumers using the mail
and telephone Defendant is a “debt collector” as defined by the FDCPA. 15 U.S.C. §1692a (6).

M

17. Defendant’s collection activity of which Plaintiff complains occurred within the
previous twelve (12) months.

18. Within one year immediately preceding the filing of this lawsuit, Defendant
telephoned the Plaintiff’s cellular phone using an automatic telephone dialing system on
numerous occasions and left pre-recorded messages on the Plaintiff’s answering service in
violation of the TCPA and FDCPA.

19. Within the last year, Defendant began attempts to collect an alleged debt from
Plaintiff

20. ln its attempt to collect this debt, Defendant made numerous unsolicited,

Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 5 of 18 Page|D #: 8

unauthorized pre~recorded debt collection phone calls to Plaintiff’s cellular phone number, 314-
496-1619.

21. ln Defendant’s debt collection pre-recorded messages to Plaintiff’s cell phone,
Defendant fails to state that it is a debt collector attempting to collect a debt, and that any
information obtained can be used for that purpose

22. In Defendant’s debt collection pre-recorded messages to Plaintiff’s cell phone,
Defendant requested a call back to its phone number (800) 888-2238.

23. Plaintiff never provided her cell phone number to Defendant, and Plaintiff never
gave her express written consent to be called on her cellular telephone by automatic dialed
telephone calls or prerecorded messages

24. Plaintiff never signed any writing containing a clear and conspicuous disclosure,
as required under 47 C.F.R. § 64.1200(f)(8)(i), informing the Plaintiff that by executing an
agreement, Plaintiff consents to receive phone calls delivered using an automatic telephone
dialing system or an artificial or prerecorded voice.

25. Defendant knows the TCPA’s prohibitions against using an autodialer and pre-
recorded messages to call cell phones, and Defendant makes unauthorized and prohibited phone

calls despite this knowledge

Violations of the TCPA
26. Defendant never obtained express written consent from Plaintiff to place

telephone calls to Plaintiff’s cellular phone number using an automatic telephone dialing system
on or to send pre-recorded messages to Plaintiff’s cellular phone,
27. Within the last four years, Defendant made attempts to collect the alleged debt by

making numerous unsolicited and unauthorized phone calls to Plaintiff’s cellular phone number

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 6 of 18 Page|D #: 9

using an automatic telephone dialing system and pre-recorded messages

28. Defendant’s phone calls for Plaintiff were placed from Defendant’s automatic
telephone dialing system, as defined by 47 U.S.C. § 227(a)(1), from the phone number that is
registered to the Defendant.

29. Specifically, Defendant’s dialing system has the capacity to store, dial, and
generate phone numbers such as Plaintiff’s.

30. These automated telephone dialing system calls were made to Plaintiffs cellular
phone and she was charged for these phone calls, in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

Violations of the FDCPA

31. Defendant’s use of a prohibited means of telecommunications violated the
FDCPA, 15 U.S.C. §1692f, which prohibits the use of unfair or unconscionable means to collect
or attempt to collect any debt.

32. Defendant failed to disclose in its pre-recorded voice messages to the Plaintiff,
that it was a debt collector attempting to collect a debt, in violation of FDCPA § 1692e(1l),
which requires that in any communication, the debt collector must disclose that the
communication is from a debt collector.

33. Defendant’s collection attempts have caused Plaintiff to incur actual damages
including but not limited to anxiety, sleeplessness, and worry.

CLASS ALLEGATIONS - FDCPA

34. Upon information and belief, it is Defendant’s routine practice to violate the
FDCPA by conducting telephone debt collection communications in which Defendant fails to
include the disclosure required by 15 U.S.C. § 1692e(11) that the communication is from a debt

collector in an attempt to collect a debt.

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 7 of 18 Page|D #: 10

35. This action is properly maintainable as a class action pursuant to Rule 52.08 of

the Missouri Supreme Court Rules. The class consists of the following persons:
All persons in Missouri who received a pre~recorded voice
message on their telephone in which Defendant failed to disclose
that the communication was from a debt collector in an attempt to
collect a debt.

36. Members of the class are so numerous that joinder is impracticable. Based on
Plaintiff’s research, Defendant is a high volume debt collector that attempts to collect every
month on hundreds of delinquent debts allegedly owed by Missouri consumers

37. Upon information and belief, Defendant has engaged in the improper collections
communications described above with at least one hundred Missouri consumers

38. Plaintiff is a member of the class he seeks to represent.

39. There are no unique defenses Defendant can assert against Plaintiff individually,
as distinguished from the class.

40. Plaintiff will assure the adequate representation of all members of the class and
will have no conflict with class members in the maintenance of this action. Plaintiff’s interests in
this action are typical of the class and are antagonistic to the interests of the Defendant. Plaintiff
has no interest or relationship with the Defendant that would prevent her from litigating this
matter fully. Plaintiff is aware that settlement of a class action is subject to court approval and
she will vigorously pursue the class claims throughout the course of this action.

41. A class action will provide a fair and efficient method to adjudicate this
controversy since the claims of the class members are virtually identical in that they raise the

same questions of law and involve the same methods of collection by the Defendant.

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 8 of 18 Page|D #: 11

42. Most, if not all, of the facts needed to determine damages are obtainable from the
Defendant’s records

43. The purposes of the FDCPA will be best effectuated by a class action.

44. A class action is superior to other methods for the fair and efficient adjudication
of this controversy

45. Furthermore, as damages suffered by most members of the class are relatively
small in relation to the costs, expense, and burden of litigation, it would be difficult for members
of the class individually to redress the wrongs done to them.

46. Many, if not all, class members are unaware that claims exist against the
Defendant. There will be no unusual difficulty in the management of this action as a class
action.

47. One common question of law and fact predominate over all individual questions
in this action. The common question is whether Defendant engaged a class member with a pre-
recorded voice message debt collection communication in which Defendant failed to disclose
that the communication is from a debt collector in an attempt to collect a debt.

48. Because many class members are unaware of their claims and because their
claims are small in relation to the cost of an individual suit, a class action is the only proceeding
in which class members can, as a practical matter, recover.

49. Plaintiff and Plaintiff’s counsel have the necessary financial resources to
adequately and vigorously litigate this class action. Plaintiff’s counsel will fairly and adequately

represent and protect the interests of the Class

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 9 of 18 Page|D #: 12

50. All Class members have been damaged in precisely the same fashion, by precisely
the same conduct. The loss suffered by individual Class members is calculable and
ascertainable

COUNT I: VIOLATION GF THE FDCPA

51. Plaintiff re-alleges and incorporates by reference all of the above paragraphs

52. ln its attempt to collect the alleged debts from Plaintiff, Defendant has committed
violations of the FDCPA, 15 U.S.C. 1692 et. seq., including, but not limited to, the following:

a. Failing to disclose in a collection communication that the communication is from
a debt collector in an attempt to collect a debt. 15 U.S.C. §1692e(11).

WHEREFORE, Plaintiff respectfully requests that judgment be entered against
Defendant fort

A. An order declaring this action to be a proper state-wide class action and requiring

Defendant to bear the cost of class notice;

B. Judgment that Defendant’s conduct violated the FDCPA;

C. Actual damages;

D. Release of the alleged debt;

E, Statutory damages costs and reasonable attorney’s fees pursuant to 15 U.S.C.

1692(k); and
F. For such other relief as the Court may deem just and proper.
CLASS ALLEGATI()NS - TCPA

52. Upon information and belief, it is Defendant’s routine practice to violate the

TCPA by using an automatic dialing telephone system to place pre-recorded telephone messages

to cellular telephones without the consent of the persons being called, in violation of the TCPA,

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 10 of 18 Page|D #: 13

47 U.S.C. § 227(b)(1)(A)(iii).

53. This action is properly maintainable as a class action pursuant to Rule 52.08 of

the Missouri Supreme Court Rules. The class consists of the following persons:
All persons in Missouri who received an auto-dialed or pre-
recorded voice message on their cellular telephone without their
consent.

54. Members of the class are so numerous that joinder is impracticable Based on
Plaintiff’s research, Defendant is a high-volume debt collector that attempts to collect every
month on hundreds of delinquent debts allegedly owed by Missouri consumers by sending auto-
dialed pre-recorded messages to their cellular telephones

55. Upon information and belief, Defendant has engaged in the improper
telecommunications conduct described above with at least one hundred Missourians

56. Plaintiff is a member of the class she seeks to represent.

57. There are no unique defenses Defendant can assert against Plaintiff individually,
as distinguished from the class

58. Plaintiff will assure the adequate representation of all members of the class and
will have no conflict with class members in the maintenance of this action. Plaintiff’s interests in
this action are typical of the class and are antagonistic to the interests of the Defendant. Plaintiff
has no interest or relationship with the Defendant that would prevent her from litigating this
matter fully. Plaintiff is aware that settlement of a class action is subject to court approval and

she will vigorously pursue the class claims throughout the course of this action.

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 11 of 18 Page|D #: 14

59. A class action will provide a fair and efficient method to adjudicate this
controversy since the claims of the class members are virtually identical in that they raise the
same questions of law and involve the same methods of collection by the Defendant.

60. Most, if not all, of the facts needed to determine damages are obtainable from the
Defendant’s records

61. The purposes of the TCPA will be best effectuated by a class action

62. A class action is superior to other methods for the fair and efficient adjudication
of this controversy

63. Furthermore, as damages suffered by most members of the class are relatively
small in relation to the costs, expense, and burden of litigation, it would be difficult for members
of the class individually to redress the wrongs done to them.

64. Many, if not all, class members are unaware that claims exist against the
Defendant. There will be no unusual difficulty in the management of this action as a class
action.

65. One common question of law and fact predominate over all individual questions
in this action. The common question is whether Defendant engaged a class member in an auto-
dialed telephone debt collection communication in which Defendant sent a pre~recorded message
to their cellular telephone without their consent.

66. Because many class members are unaware of their claims and because their
claims are small in relation to the cost of an individual suit, a class action is the only proceeding

in which class members can, as a practical matter, recover.

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 12 of 18 Page|D #: 15

67. Plaintiff and Plaintiff’s counsel have the necessary financial resources to
adequately and vigorously litigate this class action. Plaintiff’s counsel will fairly and adequately
represent and protect the interests of the Class

68. All Class members have been damaged in precisely the same fashion, by precisely
the same conduct. The loss suffered by individual Class members is calculable and
ascertainable

C()UNT II: VIOLATION OF THE TCPA

69. Plaintiff re-alleges and incorporates by reference all prior paragraphs

70. ln its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the TCPA, 47 USC 227 et. seq., including, but not limited to, the following:

a. Placing non-emergency phone calls to Plaintiff‘s cellular phone without
express authorized consent of the Plaintiff. 47 USC 227(b) (1) (A) (iii).

71. Defendant‘s violations were negligent, or alternatively, they were willful or
knowing, in violation of 47 U.S.C. § 312(f)(1).

WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for:

A. An order declaring this action to be a proper state-wide class action and requiring

Defendant to bear the cost of class notice;

B. Judgrnent that Defendant’s conduct violated the TCPA;

C. Actual damages;

D. Statutory damages pursuant to 47 USC (b)(3); and

E. For such other relief as the Court may deem just and proper.

Respectfully submitted by,

Pontello & Bressler, LLC

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 13 of 18 Page|D #: 16

/s/ Dominic l\/l. Pontello
Dominic M. Pontello, #60947
lsaac J. Bressler, #66379
406 Boones Lick Rd
St. Charles, MO 63301
(636) 896-4170
(636) 246-0141 facsimile
dominic§'a`ipontellolaw.eom
il)rcsslcr@pontellolaw.com

 

 

Attorneysfor Plal'm‘l`jjf

DOCUMENT PRESERVATION DEMAND

Plaintiff hereby demands that the Defendant take affirmative steps to preserve all
recordings data, databases, call records, consent to receive autodialed or prerecorded calls,
emails, recordings, documents and all other tangible things that relate to the allegations herein, to
the Plaintiff, or the making of telephone calls, the events described herein, any third party
associated with any telephone call, campaign, account, sale or file associated with Plaintiff, and
any account or number or symbol relating to any of them. These materials are very likely
relevant to the litigation of this claim. lf Defendant is aware of any third party that has
possession, custody, or control of any such materials, Plaintiff demands that the Defendant
request that such third party also take steps to preserve the materials This demand shall not
narrow the scope of any independent document preservation duties of the Defendant.

/s/ Dominic M. Pontello

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 14 of 18 Page|D #: 17

IN THE CIRCUIT COURT OF SAINT CHARLES COUNTY
STATE OF l\/IISSOURI
DOLEATA JOHNSON, )
)
Plaintiff, )
v. ) Cause No.
)
MEDICREDIT, INC ) Division
)
Defendant. ) JURY TRIAL DEMANDED

REOUEST FOR APPOINTMENT OF PROCESS SERVER
COMES NOW, undersigned counsel, pursuant to Local Rules, and at his own risk
requests the appointment of the Circuit Clerk of:

MICHAEL SIEGEL
KANSAS CITY PROCESS SERVICE
P.O. B()X 717
SMITHVILLE, MO 64089

816-217-3329

Natural persons of lawful age to serve the summons and petition in this cause on the
below named parties This appointment as special process server does not include the

authorization to carry a concealed weapon in the performance thereof.

SERVE AT:
STK REGISTERED AGENT, INC.
900 W. 48TH STREET, STE 900
KANSAS ClTY, MO 64112
Pontello & Bressler, LLC
/s/ Dominic M. Pontello

 

All Risks to Plaintiff Dominic M. Pontello, #60947
So Appointed: Attorney for Plaintiff

406 Boones Lick Rd
Date: St. Charles, MO 63301

 

(636) 896-4170
By: (636) 246-0141 facsimile

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 15 of 18 Page|D #: 18

lN THE CIRCUIT COURT OF SAlNT CHARLES COUNTY
STATE ()F MISSOURI
DOLEATA JOHNSON, )
)
Plaintiff, )
v. ) Cause No.
)
MEDICREDIT, INC ) Division
)
Defendant. ) JURY TRIAL DEMANDED

REOUEST FOR APPOINTMENT OF PROCESS SERVER
COMES NOW, undersigned counsel, pursuant to Local Rules, and at his own risk

requests the appointment of the Circuit Clerk of:

MICHAEL SIEGEL
KANSAS CITY PROCESS SERVICE
P.O. BOX 717
SMITHVILLE, MO 64089

816-217-3329

Natural persons of lawful age to serve the summons and petition in this cause on the
below named parties This appointment as special process server does not include the

authorization to carry a concealed weapon in the performance thereof.

SERVE AT:
S'l`K REGISTERED AGENT, INC.
900 W. 48TH STREET, STE 900
KANSAS Cl'l`Y, MO 64112
Pontello & Bressler, LLC
/s/ Dominic M. Pontello

All Risks to Plaintiff
So Appointed:

Date: ALL RISKS TO PLAINTIFF SO
APPOINTED:
By: /S/ JUDY ZERR 2=36r>m.Mav02.2<)18

 

 

Dominic M. Pontello, #60947
Attorney for Plaintiff

406 Boones Lick Rd

St. Charles, l\/IO 63301

(636) 896~4170

(636) 246-0141 facsimile

- sara weaverin

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Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 16 of 18 Page|D #: 19

IN THE llTH JUDICIAL CIRCUIT COURT, ST. CHARLES COUNTY, MISSOURI

 

 

 

 

 

ludge or Division: Case Number: 1811-CC00431
JON A. CUNNINGHAM
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attorney/Address
DOLEATA JOHNSON on behalf of herself an all DOMINIC M PONTELLO
other similary situated PONTELLO LAW LLC
406 BOONES LICK RD

vs. SAlNT CHARLES, MO 63301
Defendant/Respondent: Court Addr€SSI
MEDICREDIT INC 300 N 2nd STREET
Nature of Suit: SAlNT CHARLES, MO 63301
CC Other Tort (Date Fiie Stamp)

 

 

 

Summons in Civil Case

 

The State of Missouri t0: MEDICREDIT INC
Alias:
3620 1-70 DR. SE, SUITE C SERVE AT:
COLUMBIA, MO 65201 STK REGISTERED AGENT INC
900 \\' 48TH STREET SUl'I`E 900
KANSAS CITY, MO 64112

COUR?;SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a copy of

""‘i which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service lf you fail to
file your pleading, judgment by default may be taken against you for the relief demanded in the petition.

    

5/2/2018 /s/ rudy zerr
Date Clerk
sT. CHAR`L"ES CoU/vTY runher Informauonz

 

Sheriff’s or Server’s Return
Note to serving officers Summons should be returned to the court within thirty days after the date of issue
I certify that I have served the above summons by: (check one)
j:] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
j:j leaving a copy ofthe summons and a copy of the petition at the dwelling place or usual abode ofthe Defendant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years
[:I (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
|:j other
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
;\'Iust be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Sea[)
My commission expires:
Date Notary Public
Sheriff’s Fees
Summons 5
Non Est S
Sheriff"s Deputy Salary
Supplemental Surcharge 3 10.00
Mileage S t miles @ $. per mile)

Total S

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7-08) SM30 (SMCC) For Court Use On[y: Document Id # lS-SMCC-706 l of l Civil Procedure Foim No. 1, Rules 54.01 - 54.05,
54.13, and 54.20', 506.120 - 506.140, and 506.150 RSMo

Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 17 of 18 Page|D #: 20

STATE OF MISSOURI )
) ss
ST. CHARLES COUNTY, MISSOURI )

lN THE ClRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI

NOTICE OF ALTERNATIVE DISPU'I`E RESOLUTION SERVICES

Pursuant to Missouri Supreme Court Rule l7, the Circuit Court of St. Charles County,
Missouri (Eleventh J udicial Circuit) has adopted a local rule to encourage voluntary alternative
dispute resolution The purpose of the rule and the program it establishes is to foster timely,
economical, fair and voluntary settlements of lawsuits without delaying or interfering with a
party’s right to resolve a lawsuit by trial.

This program applies to all civil actions other than cases in the small claims, probate and
family court divisions of the Circuit Court, and you are hereby notified that it is available to you
in this case

The program encourages the voluntary early resolution of disputes through mediation
Mediation is an informal non-binding alternative dispute resolution process in which a trained
mediator facilitates discussions and negotiations among the parties to help them resolve their
dispute The mediator is impartial and has no authority to render a decision or impose a
resolution on the parties During the course of the mediation, the mediator may meet with the
parties together and separately to discuss the dispute, to explore the parties’ interests and to
stimulate ideas for resolution of the dispute

A list of mediators approved by the court and information regarding their qualifications is
kept by the Circuit Clerk’s Office. lf all parties to the suit agree to mediation, within ten days
after they have filed the Consent to Mediation Form on the reverse side of this page with the
Clerk of the Court, they shall jointly select from that list a mediator who is willing and available
to serve If the parties cannot agree upon the mediator to be selected, the Court will make the
selection.

The full text of the Circuit Court’s local court rules, including Rule 38 Alternative
Dispute Resolution, is available from the Clerk of the Circuit Court or at:
http://www.courts.mo.gov/hosted/circuitll/Documents/LOCAL COURT RULES.pdf

A copy of this Notice is to be provided by the Clerk of the Circuit Court to each of the
parties initiating the suit at the time it is filed, and a copy is to be served on each other party in
the suit with the summons and petition served on that party.

Case: 4:18-cv-OO892-PLC Doc. #: 1-1 Filed: 06/08/18 Page: 18 of 18 Page|D #: 21

STATE OF MISSOURI )
) ss.
ST. CHARLES COUNTY, MISSOURI )

lN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISS()URI

 

Plaintiff(s),

 

)
)
)
vs ) Cause #
)
)
Defendant(s). )
CONSENT TG MEDIATION F()RM

1, the undersigned counsel of record in this case, hereby certify that 1 have discussed the
subject of mediation under the Court’s Alternative Dispute Resolution Program with my client(s)
in this case and that:

We believe that mediation would be helpful in this case and consent to the referral of the
case to mediation upon the filing of similar consents by all other parties in the case

We do not consent to the referral of this case to mediation.

 

Signature

 

(Print Name)

Attorney for:

 

(Party or Parties)

Date:

 

